






In The



Court of Appeals



Ninth District of Texas at Beaumont



  ______________________ 


					

NO. 09-07-529 CV


  ______________________


	

JACQULYN JOHNSON, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the County Court at Law No. 2 


Orange County, Texas


Trial Cause No. E17338






MEMORANDUM OPINION


	The appellant, Jacqulyn Johnson, filed a motion to dismiss this appeal.  The motion
is voluntarily made by the appellant prior to any decision of this Court and should be granted. 
Tex. R. App. P. 42.1(a)(1).  No other party filed notice of appeal.  The motion to dismiss is
granted and the appeal is dismissed.



	APPEAL DISMISSED.

								____________________________

									DAVID GAULTNEY

									          Justice


Opinion Delivered February 21, 2008


Before Gaultney, Kreger, and Horton, JJ. 


									


